                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
v.                                            )       Case No. 4:22-CR-00080-BCW
                                              )
                                              )
ALONZO MILLER,                                )
                                              )
                       Defendant.             )

                                             ORDER

        Before the Court is Magistrate Judge Morris’s Report and Recommendation (Doc. #47)

denying Defendant’s motion to suppress all evidence and incriminating statements obtained as a

result of his alleged illegal detention and subsequent arrest. (Doc. #22).

        On September 15, 2023, Judge Morris held an evidentiary hearing on the motion to

suppress. (Doc. #42). On November 2, 2023, Judge Morris issued the instant Report and

Recommendation denying Defendant’s motion. (Doc. #47). On November 22, 2023, after

receiving an extension of time by the Court, Defendant filed objections to the Report and

Recommendation (Doc. #53).

        After an independent review of the record, the applicable law, and the parties’ arguments,

the Court adopts Magistrate Judge Morris’s findings of fact and conclusions of law. Accordingly,

it is hereby

        ORDERED for the reasons stated in the Report and Recommendation (Doc. #47),

Defendant’s motion to suppress (Doc. #22) is DENIED. It is further




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       ORDERED that Magistrate Judge Morris’s Report and Recommendation be attached to

and made part of this Order.

       IT IS SO ORDERED.


DATED: December 1, 2023                       /s/ Brian C. Wimes
                                              JUDGE BRIAN C. WIMES
                                              UNITED STATES DISTRICT COURT




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